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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA


JOHNATHAN GIVENS, ET AL.                                             CIVIL ACTION

VERSUS                                                                 No. 19-12448

DILLARD UNIVERSITY                                                      SECTION I


                                       ORDER

         Considering the motion1 to withdraw and substitute previously filed

pleadings,

         IT IS ORDERED that the motion is GRANTED and that the previously

filed motion2 to dismiss is WITHDRAWN.

         IT IS FURTHER ORDERED that the clerk shall file into the record the

proposed motion to dismiss and supporting documents attached to the motion. The

motion to dismiss shall be set for submission on November 6, 2019.



         New Orleans, Louisiana, October 8, 2019.



                                               ___________________________________
                                                      LANCE M. AFRICK
                                              UNITED STATES DISTRICT JUDGE




1   R. Doc. No. 33.
2   R. Doc. No. 29.


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